CaSe ZiOBi€F-‘ZUI'BU-?}PM"UDU€UW@H`t"`]§BU“`Pi|’é‘UN(§‘B’/UW/U% PaCle 1 Of 2 PaCle|D 21

l. ClR.fDIST./l]l\”. CODF. 2. PERSON REPRESENTED VOUC"ER NUMBER

TNW Sutton, Casey
?M§<JJUMBF.R

 

 

 

 

3. MAG. t)m‘.mt;r. NUMBER 4. otsT. ot<T./t)t:t=. NUMEER s. APPEALS nt<T./ot:F. Nuntatftiil§:®
2:05-020185-001

 

 

 

 

 

7. lN CASEH“ATTER OF (Ca§e Nam€) S. PAYMENT CATEGORY 9. TYPE PERSON REPRESENDI§ l 10. R(.EPJ RESFNTAT!ON TYPF,
ctmn§
U.S. v. Summ F@l@ny Adun D@fendam JH J'BCISEFT§D U.<:és~g

 

ll. Ol"l"ENSE(S) Cli ARCED [Ci.tt.‘ 'U.S. Code, Title & Setlion) ll'mnre than one offense.list [up to live} major offenses charged, aecnrdingtn severity ofol'l'ense.

]) 21 841A=CD. F -- CONTROLLED SUBSTANCE - SELL, DiSTRIBU TE, OR DISPENSE§ i"\

r-\r

t::; memo

 

 

 

t“§-L~ §§ !"rf""i' r\~»~
t '- 1) .
lZ. ATTORNEY'S NAME (l-?irst Name, M.l.` l.ast Name. including any sufi`tx) 13. COURT ORDER ‘W’i“" ` §"‘\‘, f'j;E}‘,!/{FIJ;D
AND MAH'ING "`DDRE“SS ® 0 Appointing Cnunse| \:\ C Co-Counse l bd
JOHNSON, L_ DANIEL [:I F Suhs For Federal Del'ender l:l R Suhs For kelained Attorney
254 Court S[ [l P Subs For !Panel Atturney [l Y Stlndb_v Counsel
Sujte 30§ l‘riur Attorne}"s Name:
MEmphiS TN 3 81 03 Appointment Dale:
Rlleeause the above~ltamed person represented has testified under oath or has
rwise satisfied this court that he or she (l) is financially unable tn employ counsel and

'|\eh.|.,h,mE Numhl.r: (90 i) 543-0700 (l} does not wish lo waive enunse|, and because the interests ofjusliee so requires the

attorney whose name appears in ltem 11 is appointed lo represent tltis person in this cases
14. NAMF. AND :\'LAILING ADDRESS OF LAW FlRM (nnly provide per instructions) or

[:| Other {See ll\str s)

 

7//¢/‘///0'“

Signlture of Presiding .|udicia| Ol`i'tcer or B_v Order ufThe Crlurt

n‘if'§i/?(l(}€

Dt\te ul'Order Nunc Pro Tune I)ate

Repa}'ment or partial repayment ordered from the person represented for this service at
lime of appointment. n YES l:] NO

 

 

   

cf;‘AIMEdR sERVICES‘§§Na,E)ZPENse§;

 

Fos:~;pmr:svo

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

    

   

 

 

 

 

 

 

 

 

 

CATEGOR|ES (Attach itemization of services with dates) CBA|MRESD AWOI`GILT %}Hgf%.(l;)“ NA‘?)TIH§I%EE(EJH AR¥WF(UAL
CLAIMED HOURS AMOUNT “ “

15. a. Arraignment and!or P|ca

b. Bail and Detention Hearings

c. Motion Hearittgs
fl d. Triat
(; e. Setttencing l-learings
§ l. Revocation Hearings
tr g. Appeals Court

h. Other (Spet:ify on additional sheets)

(Rate per hour = $ ) TOTAI.S:
16. a. interviews and Conferences
\? b. Obtaining and reviewing records
n e. Legal research and brief writing
; d. Travel time
\‘,' e. Investigative and Other work {speeiry on additional mem
{ (Ratc per hour z $ ) TOTALS:
17. Trav€] EXpellSeS [lodging, parking, meals. mileage. etc.)
ta. Other Expenses (other than expert transcripts, etc)
]9. CERT{F|CATION OF Al TORNEY!'PAYEE FOR THE PERIOD 0 F SERV'[CE 2[]. APPOINTMF.NT TER.MINAT|ON DATl-`, 21. CASE DlSFO SiTl|I)i\r
FROM TO tF OTHER THAN CASE COMPLET|ON
22. Cl. AIM STA l"US \] I'inal Paymem ij lnterim Payment Numher _ [:l Supplernental Payment
§§Ti§r",i“..‘i'ri¥."ri.'ii'§ §€1§',‘1,“ii§SJZZSYEREToE°r"L',’S,'liFJJ'§"¢ i§§';"n'yf,;“§‘§i}‘l“ili'£€`§§f§.',`§`§ni“¢?.;}pt..,.i.:'o§.§§mh.§ alamo r'f.,"§§`,;§';f.‘h¥£“!§i'r‘l;- m m£§.§§w.o §§ NO
representelion? \:\ YE,S [:I NO l|'yes. gi\e details nn additional sheets.

l swear or affirm the truth or correctness of the above statementsl

Signature ol'Attnrne_v; Date:

 

  

 

 

 

 

 

 

 

 

, ` , memoon non PAYmN't“i§coURT UsE-oNt;Y;:§
13. IN COURT COM P. 24. OU'I` ()F COURT CUMP. 25. TRA\»'F.L EXPENSES 26. OTHE`.R EXPENSES ZT. TOTA|. AMT, APPR l CERT
28. SIGNATURE OF THE PRESID|NC .lUl)lClAL OFFICER DATE ZHa. JUDGF. f MAG. .IUDGF. CODE
29. IN COURT COMP. 30. OUT OF COUR'I` COMI’. 3!. 'I`RA\"|£L }L‘XI’F.NSES 32. OTHER EXPENSE.S 33. TOTAL AMT. APPRO\’ED
Jd. SIGNATURE OF ClIlEF.lUDGI:`., COURT OF APP EALS (OR DF_I F.GATE ) Paymt-nt DATE 34a. JUDGE CODF.
appro\ed m excess ofthe statutory threshold ameum.

 

 

 

 

 

This document entered on the docket Sheeti n qc?|lanc=.)
with F\ule 55 and/or 32 (b) FHCrP on

 

UNITED sTATE DRISTIC COURT - WSTERN D'S'TRCT OFTENNESSEE

   

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Honorable J on McCalla
US DISTRICT COURT

